                                                             USDC SDNY
UNITED STATES DISTRICT COURT                                 DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                    DOC #: _________________
                                                             DATE FILED: 11/12/2020

              -against-
                                                                      20 Cr. 412 (AT)

BRIAN KOLFAGE,                                                           ORDER
STEPHEN BANNON,
ANDREW BADOLATO, and
TIMOTHY SHEA,

                       Defendants.
ANALISA TORRES, District Judge:

     The status conference scheduled for December 2, 2020, at 1:00 p.m. is hereby
ADJOURNED to December 2, 2020, at 3:00 p.m.

       SO ORDERED.

Dated: November 12, 2020
       New York, New York
